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                     UNITED STATES DISTRICT COURT

                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                   )
                                           )
     v.                                    ) CRIMINAL NO. 23-4293-DHH
                                           )
JACK DOUGLAS TEIXEIRA                      )

                DEFENDANT JACK DOUGLAS TEIXEIRA’S
                       DETENTION HEARING




                                    Exhibit 5

             Chief District Defense Counsel Notice of Representation
         Case 1:23-mj-04293-DHH Document 20-5 Filed 04/27/23 Page 2 of 2

                                DEPARTMENT OF THE AIR FORCE
                                OFFICE OF THE JUDGE ADVOCATE GENERAL
                                    MILITARY JUSTICE AND DISCIPLINE



                                                                                            17 April 2023
MEMORANDUM FOR ALL REVIEWING AUTHORITIES

FROM: AF/JAJD (Lt Col Poronsky)

SUBJECT: Notice of Representation—A1C Jack D. Teixeira

1. I am detailed military defense counsel representing A1C Jack D. Teixeira regarding any actions taken
by or through the Department of Defense, Department of the Air Force, or any representative thereof, that
relate to or arise from any alleged violations of law committed while A1C Teixeira was subject to Title 10
of the United States Code. Such representation includes but is not limited to currently pending/ongoing
investigations; interrogations; Article 32, Uniform Code of Military Justice (UCMJ) preliminary hearings;
pretrial confinement hearings; summary, special, and general courts-martial; post-trial and clemency
matters; involuntary discharge, demotion, and nonjudicial punishment proceedings; flying evaluation and
medical credentialling boards; promotion propriety actions; denials, revocations, and suspensions of
security clearances; and various other adverse personnel actions.

2. Prior consent for any search or seizure, including but not limited to his person and property (e.g.,
mobile phone(s), computer(s), gaming console(s), & physical paper(s)/file(s)), seizure of samples,
including but not limited to hair and bodily fluids, forensic testing, including but not limited to DNA
testing and polygraphs, and any similar procedure is hereby withdrawn. Through counsel, A1C Teixeira
requests that all items searched or seized be immediately returned or destroyed.

3. On behalf of A1C Teixeira, I request that no interviews, interrogations, and/or attempts to question
him be conducted without (a) informing me first, (b) affording A1C Teixeira an opportunity to consult
with me, and (c) my consent, unless such consent is knowingly and affirmatively waived by A1C
Teixeira.

4. This request is in accordance with the rights afforded A1C Teixeira by Article 31 of the UCMJ,
Military Rules of Evidence 305, and the Fifth and Sixth Amendments to the United States Constitution. In
the event the investigation proceeds to trial by court-martial, my client hereby invokes all rights to a
speedy trial under the Fifth and Sixth Amendments, Rules for Courts-Martial 707, and Article 10 of the
UCMJ.

5. If you have any questions or concerns, please contact me at                 or
                              .




                                                         BRADLEY L. PORONSKY, Lt Col, USAF
                                                         Chief District Defense Counsel
Attachment:
       Memorandum from General David W. Allvin & General David D. Thompson, Implementation of
Commander/First Sergeant Checklist for Airmen and Guardians Under Investigation, dtd 30 Apr 21, 6 pp

cc:
Mr. Brendan Kelley
